
In re Hawkins, Archie Joseph; — Plaintiffs); applying for supervisory and/or remedial writ; Parish of Orleans, Criminal District Court, Div. “J”, No. 247-365.
Granted. The district court is ordered to grant relator an out-of-time appeal and to appoint counsel to handle the appeal. See Penson v. Ohio, 488 U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1989); Lofton v. Whitley, 905 F.2d 885 (5th Cir.1990). If appointed counsel, after review of the record, finds no basis for assigning error on appeal, he or she may follow the procedure outlined in State v. Benjamin, 573 So.2d 528 (La.App. 4th Cir.1990). See Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).
WATSON, J., not on panel.
